            CASE 0:21-cv-02210-SRN-BRT Doc. 5 Filed 11/23/21 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


  Victor B. Perkins,
                                                     Case No. 21-cv-2210 (SRN/BRT)
                        Petitioner,

  v.                                                             ORDER

  Steve Kallis, Warden,

                        Respondent.


  Victor B. Perkins, Reg. No. 08783-039, FMC-Rochester, Qtrs 1-1, PMB 4000,
  Rochester, MN 55903-4000, pro se petitioner.

  Ana H. Voss, United States Attorney's Office, 300 South Fourth Street, Suite 600,
  Minneapolis, MN 55415, for respondent.


       This matter comes before the Court upon the Report and Recommendation of

United States Magistrate Judge Becky R. Thorson dated October 29, 2021 [Doc. No. 4].

No objections have been filed to that Report and Recommendation in the time period

permitted. Based upon the Report and Recommendation of the Magistrate Judge and

upon all of the files, records, and proceedings herein, the Court now makes and enters the

following Order.

       IT IS HEREBY ORDERED THAT:

       1.      The petition for writ of habeas corpus of petitioner Victor B. Perkins [Doc.

               No. 1] is DENIED;

       2.      This matter is dismissed; and
          CASE 0:21-cv-02210-SRN-BRT Doc. 5 Filed 11/23/21 Page 2 of 2




     3.      Perkins’s application to proceed in forma pauperis [Doc. No. 3] is

             DENIED.

     LET JUDGMENT BE ENTERED ACCORDINGLY.

Date: November 23, 2021
                                               s/Susan Richard Nelson
                                               SUSAN RICHARD NELSON
                                               United States District Judge
